Case 1:14-cr-00089-TSK-MJA Document 391 Filed 05/01/15 Page 1 of 4 PageID #: 1227



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                  CRIMINAL NO. 1:14CR89-20
                                                 (Judge Keeley)


  RYAN BROOKS,

                    Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
        GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        On April 15, 2015, defendant, Ryan Brooks (“Brooks”), appeared

  before United States Magistrate Judge John S. Kaull and moved for

  permission to enter a plea of GUILTY to Count Twenty-Four of the

  Indictment. Brooks stated that he understood that the magistrate

  judge is not a United States District Judge, and consented to

  pleading before the magistrate judge.        This Court had referred the

  guilty     plea   to   the   magistrate   judge   for   the   purposes    of

  administering the allocution pursuant to Federal Rule of Criminal

  Procedure 11, making a finding as to whether the plea was knowingly

  and voluntarily entered, and recommending to this Court whether the

  plea should be accepted.

        Based upon Brooks’ statements during the plea hearing and the

  testimony of Sergeant John Rogers, the magistrate judge found that

  Brooks was competent to enter a plea, that the plea was freely and

  voluntarily given, that he was aware of the nature of the charges
Case 1:14-cr-00089-TSK-MJA Document 391 Filed 05/01/15 Page 2 of 4 PageID #: 1228



  USA v. RYAN BROOKS                                             1:14CR89-20

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

  against him and the consequences of his plea, and that a factual

  basis existed for the tendered plea. On April 16, 2015, the

  magistrate judge entered an Opinion/Report and Recommendation

  Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 376)

  finding a factual basis for the plea and recommended that this

  Court accept Brooks’ plea of guilty to Count Twenty-Four of the

  Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. After which,

  the parties did not file any objections.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Brooks’ guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Twenty-Four of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



                                       2
Case 1:14-cr-00089-TSK-MJA Document 391 Filed 05/01/15 Page 3 of 4 PageID #: 1229



  USA v. RYAN BROOKS                                                    1:14CR89-20

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.     The   Probation     Officer     undertake       a        presentence

  investigation of RYAN BROOKS, and prepare a presentence report for

  the Court;

        2.     The Government and Brooks are to provide their versions

  of the offense to the probation officer by May 14, 2015;

        3.     The presentence report is to be disclosed to Brooks,

  defense counsel, and the United States on or before June 30, 2015;

  however, the Probation Officer is not to disclose the sentencing

  recommendations made pursuant to Fed. R. Crim. P. 32(e)(3);

        4.     Counsel may file written objections to the presentence

  report on or before July 14, 2015;

        5.     The Office of Probation shall submit the presentence

  report with addendum to the Court on or before July 28, 2015; and

        6.     Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the

  factual    basis   from   the   statements   or   motions,       on    or   before

  August 11, 2015.




                                       3
Case 1:14-cr-00089-TSK-MJA Document 391 Filed 05/01/15 Page 4 of 4 PageID #: 1230



  USA v. RYAN BROOKS                                             1:14CR89-20

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        The magistrate judge remanded Brooks to the custody of the

  United States Marshal Service.

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Thursday, August 20, 2015 at 11:30 A.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: May 1, 2015


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




                                         4
